               Case: 1:24-cv-11801 Document #: 145 Filed: 04/24/25 Page 1 of 2 PageID #:3532

                           United States District Court Northern District of Illinois
                           MOTION FOR LEAVE TO APPEAR PRO HAC VICE
 Case Title:                                                                                                          Plantiff(s)
                        IN RE FROZEN POTATO PRODUCTS ANTITRUST LITIGATION
                                                                             VS.

                                                                                                                      Defendant(s)


 Case Number:           1:24-cv-11801                              Judge: Honorable Jeffrey I. Cummings


 I,     Jonathan S. Crevier                                                                                  hereby apply to the Court

 under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

Plaintiffs Bonfire Craft Kitchen Surprise LLC, Bonfire Craft Kitchen Tempe LLC, Melissa Neuburger
                                                                                                    by whom I have been retained.

 I am a member in good standing and eligible to practice before the following courts:
                                                 Title of Court                                                          Date Admitted
                                             New York State                                                              03/14/2018
                                    New York Southern District                                                           06/12/2018
                                     New York Eastern District                                                           07/10/2018
                                            District Colorado                                                            03/04/2025

 I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
 Court in the following actions:
                                                                                                             Date of Application
       Case Number                                           Case Title                                      (Granted or Denied)*

      1:25-cv-4139           Immediate Appliance Service, Inc. v. RB Global, Inc., et al. 04/24/2025 (granted)

  1:24-cv-07387                          In re Tecfidera Antitrust Litigation                               11/7/2024 (granted)
  1:23-cv-06715 In re Manufactured Home Lot Rents Antitrust Litigation 09/08/2023 (granted)


 *If denied, please explain:
 (Attach additional form if
 necessary)
 Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
 time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
 papers may be made.

                                    Has the applicant designated local counsel?        Yes                   No      X
 If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
             Case:
Has the applicant ever1:24-cv-11801
                       been:        Document #: 145 Filed: 04/24/25 Page 2 of 2 PageID #:3533
sanctioned, censured, suspended, disbarred, or otherwise disciplined by                                                  X
any court?                                                                            Yes                           No


or is the applicant currently the subject of an investigation of the                  Yes                           No   X
applicant’s professional conduct?

transferred to inactive status, voluntarily withdrawn, or resigned from the           Yes                           No   X
bar of any court?

                                                                                      Yes                           No   X
denied admission to the bar of any court?

                                                                                      Yes                           No   X
held in contempt of court?
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.


April 24, 2025                                           S/ Jonathan S. Crevier

                 Date                                               Electronic Signature of Applicant

                            Last Name                                 First Name                                         Middle Name/Initial
Applicant’s Name
                           Crevier                                   Jonathan                                            S.
Applicant’s Law Firm
                           DiCello Levitt LLP
                            Street Address                                                                               Room/Suite Number
Applicant’s Address
                           485 Lexington Ave.                                                                            10th Fl.
                                                                                       Work Phone Number
                            City                        State         ZIP Code         646-933-1000


                           New York                    NY            10017 Email Address
                                                                                       jcrevier@dicellolevitt.com


(The pro hac vice admission fee is $150.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
      fee for admission to the General Bar is $181.00 The fee for pro hac vice admission is $150.00. Admission to the general bar
      permits an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case
      only. Application for such admission must be made in each case; and the admission fee must be paid in each case.




         Rev. 11/13/2019
